UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

MCCONNELL DORCE ET AL.,
                    Plaintiffs,
                                              19-cv-2216 (JGK)
            - against -
                                             MEMORANDUM OPINION AND
CITY OF NEW YORK ET AL.,                     ORDER
                    Defendants.

JOHN G. KOELTL, District Judge:

     Two defendants, Neighborhood Restore Housing Development

Fund Co. Inc.   ("Neighborhood Restore") and Bridge Street Kings

Covenant Housing Development Fund Company, Inc.   ("Bridge

Street")   (together, the "Defendants"), request that the Court

issue a certification, pursuant to 28 U.S.C. § 1292(b), that

this Court's Opinion and Order dated June 24, 2022, "involves a

controlling question of law as to which there is a substantial

difference of opinion and that an immediate appeal from the

[Opinion and Order] may materially advance the ultimate

termination of the litigation." The Defendants seek a

certification of the portion of this Court's Opinion and Order

that denied their motion to dismiss. The Court found that there

were sufficient factual allegations in the complaint that the

Defendants' "conduct constitutes state action within the meaning

of§ 1983." ECF No. 31-32. The Defendants contend that the

factual allegations were insufficient and simply conclusory




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allegations that should have been disregarded under Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 555 (2007).

     The Defendants have failed to identify a controlling

question of law as to which there is a substantial difference of

opinion. There is no question that Twombly is controlling law.

Whether the factual allegations in the complaint are sufficient

under Twombly is not a controlling question of law but rather

the application of the facts in the complaint to the question of

law. Moreover, an interlocutory appeal would not materially

advance the ultimate termination of the litigation. If

insufficient facts were alleged, then the plaintiffs would be

given the opportunity to file an amended complaint with more

specific factual allegations. That would produce yet more

pleadings in a case that has already been subject to one appeal

to the Court of Appeals. A certification of an interlocutory

appeal would not materially advance the ultimate termination of

the litigation. If the Defendants are correct that there are

insufficient facts to show that their conduct constituted state

action, then the appropriate remedy is a motion for summary

judgment after discovery.




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     The motion for a certification for an interlocutory appeal

is denied. The Clerk is directed to close Docket No. 170.

SO ORDERED.

Dated:    New York, New York
          July 18, 2022
                                         Y    John G. Koel tl
                                    Uni:t.;,d States District Judge




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